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                           UNITED STATES DISTRICT COURT
                         DISTRICT COURT OF MASSACHUSETTS

                          CRIMINAL ACTION NO. 10-10434-GAO

                              UNITED STATES OF AMERICA,

                                               v.

                                    ROBERT PARSONS,
                                       Defendant.

                                          ORDER
                                        April 11, 2013
O’TOOLE, D.J.

       Upon consideration of the Motion for a New Trial (dkt. no. 508) filed pro se by

defendant, Robert Parsons, and the Amended Motion for a New Trial (dkt. no. 687) filed by

counsel (collectively, the “New Trial Motions”) in the above-captioned action, and the United

States of America’s response thereto, it is hereby ORDERED and DIRECTED as follows:

   1. The defendant’s attorney-client privilege is waived to the extent that he has asserted a
       claim of ineffective assistance of counsel and to the extent that the communications
       between him and his attorney are necessary to prove or disprove the defendant’s claims.
   2. Accordingly, the government and defense counsel may ask Attorney James Greenberg
       questions relating to claims raised by Parsons in the New Trial Motions and supporting
       memoranda.
   3. Additionally, the government and defense counsel may ask Attorney James Greenberg to
       disclose any documentation responsive to the allegations raised by Parsons in the New
       Trial Motions, including documentation relating to communications or correspondence
       exchanged with Parsons during his representation.
   4. Within 21 days of receipt of documentation from Attorney James Greenberg, the
       government is hereby ordered to file its response to the New Trial Motions.

It is SO ORDERED.

                                                    /s/ George A. O’Toole, Jr.
                                                    United States District Judge
